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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                    LAFAYETTE DIVISION

 ANTOINE RICHARD, DARRELL
 RICHARD, CHRIS MECHE, DERBY
 DOUCET, SR., KEVIN RABEAUX and
 MARK LOUVIERE, individually and on
 Behalf of all similarly situated individuals,
                                                     CIVIL ACTION NO. 15-cv-2557
        Plaintiffs,
                                                     DISTRICT JUDGE S. MAURICE
 VERSUS                                              HICKS, JR.

 FLOWERS FOODS, INC.; FLOWERS                        MAGISTRATE JUDGE CAROL B.
 BAKING COMPANY OF LAFAYETTE,                        WHITEHURST
 LLC; FLOWERS BAKING COMPANY
 OF BATON ROUGE, LLC; FLOWERS
 BAKING COMPANY OF
 ALEXANDRIA, LLC; FLOWERS
 BAKING COMPANY OF NEW
 ORLEANS, LLC; and FLOWERS
 BAKING COMPANY OF TYLER, LLC

       Defendants.
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                             MEMORANDUM IN SUPPORT OF

         PLAINTIFFS’ MOTION TO AMEND THIS COURT’S APRIL 9, 2021
      ORDER TO INCLUDE CERTIFICATION FOR INTERLOCUTORY APPEAL
                      PURSUANT TO 28 U.S.C. 1292(b)

        May it Please the Court:

        This memorandum is submitted by Antoine Richard, Darrell Richard, Chris Meche,

 Derby Doucet, Sr., Kevin Rabeaux and Mark Louviere (“Plaintiffs”) in support of their Motion

 to Amend this Court’s April 9, 2021 Memorandum Order to include certification for interlocutory

 appeal under 28 U.S.C. 1292(b).




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        In particular, Plaintiffs request that the Court certify the following questions of law:



            1. Does the Fifth Circuit’s precedent in Swales v. KLLM Transport Services, L.L.C.,

                985 F.3d 430 (C.A.5, 2021), permit Lusardi decertification of an FLSA collective

                action after court-ordered notice has issued and discovery is complete?

            2. Does Swales modify enunciation of the “rigorous analysis” of the FLSA’s

                “similarly situated” test?



 I.     FACTUAL BACKGROUND

        Plaintiffs are bakery-products distributors that deliver Flowers Foods products to retailers.

 All plaintiffs have signed Distributor Agreements with Defendants where Defendants represented

 to Plaintiffs and all similarly situated distributors (“Distributors”) that they would be independent

 contractors and have the freedom to exercise managerial skill to run a profitable business.

        In recent years, Defendants have changed the way they conduct their business. Defendants

 now negotiate all aspects of sales contracts with national and regional grocery chains. Defendants

 now control every level of the distribution process, including price, quantity, service levels, sales,

 advertisements, promotions, marketing, the handling of stale products, delivery procedures,

 discipline, customer service, and more. As a result, Defendants now dictate virtually every aspect

 of Distributors’ jobs. Distributors are no longer the independent businessmen they believed they

 were, but employees of Flowers Foods.

        In addition to stripping Distributors of their independence, the job requirements imposed

 by the Defendants require each Distributor to work at least 45 to 65 hours per week. Each

 Distributor is required to purchase distribution rights from Defendants to sell and distribute



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 specific product brands to customers in a geographic territory defined by Defendants. Each

 Distributor shares the same primary job responsibility of servicing exclusively Defendants’

 customers in accordance with “good industry practice” as defined in the Distributor Agreement.

        Each Distributor begins the work day by arriving at the Defendants’ warehouse to load

 product onto their trucks or trailers, which Defendants’ employees have sorted, organized and

 packed. All Distributors pay an administrative fee and warehouse rental fee to Defendants which

 is deducted from their weekly settlement checks. Each Distributor is required by Defendants to

 use a hand held computer supplied by Defendants for ordering product. Virtually all sales are made

 by Defendants and not by Distributors. Each Distributor is required by Defendants to deliver

 products to customers within certain timeframes every service day. Defendants also impose

 deadlines for adding products or subtracting from orders and returning stale product for credit.

        Each Distributor must stock products according to predetermined planograms set by

 Defendants. Each Distributor can only deliver, order and stock products that a customer has

 approved with Defendants. Flowers sales managers and directors of sales retain ultimate control

 over order quantities; have the ability to add to orders Distributors place without the permission of

 the Distributor; and frequently make such changes. Each Distributor must deliver the products

 placed by Defendants and in the manner instructed by Defendants or Defendants will discipline

 the Distributor.

        Despite treating Distributors like employees in almost every other respect, Defendants do

 not pay overtime premium pay as required by federal law. Plaintiffs brought this lawsuit to recover,

 among other things, monetary damages for violation of the Fair Labor Standards Act’s overtime

 pay requirements.




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 II.        PROCEDURAL POSTURE

            The above factual recitations reflect the considered conclusions of the Magistrate Judge in

 her Amended Report and Recommendations (Rec. Doc. 404) after literally years of discovery, long

 since complete, by all parties.

            Plaintiffs’ Complaint was filed October 21, 2015. Employing Lusardi1 two-step procedure,

 Plaintiffs’ Fair Labor Standards Act collective action was “conditionally” certified on November

 28, 2016 (Rec. Doc. 136-1). Defendants moved to decertify on January 17, 2018. The Magistrate’s

 initial Report and Recommendations, advising denial of decertification, issued August 13, 2018

 (Rec. Doc. 339). The Court remanded for further consideration, and the Magistrate’s Amended

 Report and Recommendations followed.

            By Memorandum Order on April 9, 2021, the Court instead granted Defendants’ Motion

 for Decertification (Rec. Doc. 423). In its Order, the Court noted the recent decision of the Court

 of Appeals for the Fifth Circuit in Swales v. KLLM Transport Services, L.L.C., 985 F.3d 430

 (C.A.5, 2021), which this Court (accurately) interpreted as rejecting two-step “conditional”

 certification under Lusardi.

            However, instead of recognizing that Swales no longer permits Lusardi decertification –

 FLSA “certification” is now an outset inquiry, “made… as early as possible [to] dictate the amount

 of discovery needed to determine if and when to send notice to potential opt-in plaintiffs”2 – the

 Court followed Lusardi.

            That Swales was decided while Defendants’ motion was pending is immaterial; the Court

 of Appeals’ decision, announced in January of this year, controlled the analysis. Pursuant to

 Swales, “conditional certification” no longer is the law of this circuit; and the “initial


 1
     Lusardi v. Xerox Corporation, 118 F.R.D. 351 (D.N.J., 1987).
 2
     Swales, 985 F.3d at 441.

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 determination” on a motion like Defendants’ answers only the questions of whether notice should

 issue to potential opt-in plaintiffs, and how much discovery is necessary to determine what group

 of potential plaintiffs (if any) is “similarly situated.”

          “In other words, the district court, not the standards from Lusardi, should dictate the

 amount of discovery needed to determine if and when to send notice to potential opt-in plaintiffs.”

 Swales, 985 F.3d at 441. In this case, of course, notice was authorized by the Court and unlimited

 discovery undertaken (and completed) years ago. After Swales, there was nothing “conditional”

 about collective-action certification here – certification is no longer “conditional.” The Swales

 analysis has long since been completed, and a Lusardi motion, like Defendants’, to revisit the

 Court’s prior certification is no longer an appropriate case-management step.3

          Moreover, it is respectfully submitted that the Court in its Memorandum Order (as well as

 in its reasons for denial of reconsideration) misunderstood Swales to modify the degree of inquiry

 which the district court must undertake on “decertification” (to the extent Swales any longer

 permits such a motion).

          Swales did not (and did not hold itself out to) change precedent on this point. Instead, it

 explicitly reiterated that “a district court must rigorously scrutinize the realm of ‘similarly situated’

 workers,” 985 F.3d at 434. The Court’s reconsideration denial noted that, in its April Memorandum

 Order granting decertification, it “relied on the detailed analysis of the facts conducted by the




 3
   The Court of course retains authority to employ appropriate case-management determinations in handling its
 docket. But Lusardi decertification as Defendants sought and were granted here is, after Swales, no longer
 permissible. Instead, Swales implies that early and definitive “similarly situated” analysis is intended to remain the
 law of the case, absent a compelling reason to revisit the issue, in the interests of judicial economy. Swales’ entire
 point was remand to a district court to reconsider granting authority to issue notice at case outset to avoid needless
 litigation; in rejecting Lusardi’s multi-step certification process the Court of Appeals cannot have intended to
 multiply the resulting burden of litigation, the obvious outcome if Swales simply added “rigorous scrutiny” at the
 outset of a case without limiting repeated re-litigation of the same question. In short, what was within the Lusardi
 framework two steps is now, under Swales, one – and that one step has long since been complete in this case.

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 Magistrate Judge as a foundation before proceeding to conduct its own research into the

 facts and law relevant to its decision” (Rec. Doc. 434, FN1).

        However, the results of that further research are not plain either from the April 9, 2021

 order or the subsequent order on reconsideration. Fifth Circuit precedent “require[s] district courts

 to, inter alia, ‘look beyond the pleadings to understand the claims, defenses, relevant facts, and

 applicable substantive law in order to make a meaningful determination of the certification issues.”

 M.D. ex rel. Stukenberg v. Perry, 675 F.3d 832, 837 (C.A.5, 2012) (quoting McManus v. Fleetwood

 Enters., Inc., 320 F.3d 545, 548 (C.A.5, 2003)). Less than one page of, with respect, conclusory

 factual understandings does not follow Swales’ dictate to “rigorously scrutinize” the record.

        “Such a barebones analysis, without citations to specific, factual support in the record,

 simply does not permit a reviewing court to conclude that the District Court in fact undertook

 ‘rigorous’ review mandated by our precedents.” Reinig v. RBS Citizens, N.A., 912 F.3d 115, 129

 (C.A.3, 2018).



 III.   ARGUMENT

        28 U.S.C. 1292(b) authorizes the Court to certify an order for interlocutory appeal if the

 order 1) “involves a controlling question of law” as to which 2) “there is substantial ground for

 difference of opinion” when 3) “immediate appeal from the order may materially advance the

 ultimate termination of the litigation.”



        A.        The Court’s Order Granting Decertification Involves Controlling Questions of Law

        Following Swales, two-step Lusardi collective-action certification is no longer appropriate

 in this Circuit. In this case, the Court granted second-step Lusardi decertification, counter to



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 Swales’ instruction that rigorous evaluation of the “similarly situated” standard should occur (as it

 did in this case) prior to notice being sanctioned by the court or discovery being authorized.

 Defendants’ motion, it is respectfully submitted, became untimely and inappropriate as soon as

 Swales issued, and either Defendants on their own or the Court in response should have recognized

 that Lusardi decertification is no longer permissible.

        Instead, the Court granted a motion advanced under Lusardi while citing the Court of

 Appeals in a case that rejected second-step decertification. What post-notice and post-discovery

 “decertification” procedure Swales permits following that decision, if any, is an open question.

 What that decision does not permit is exactly the Lusardi “decertification” process that occurred

 here. Swales in the interests of economy arguably has limited case management in order to avoid

 litigants biting the “certification” apple to its core (a danger this case demonstrates amply).



        B.      There Are Substantial Grounds for Difference of Opinion

        But “arguably” is used advisedly. Swales read most narrowly would reject use of Lusardi

 two-step certification only at the outset of a case, leaving district courts free to employ the latter

 decision’s methodology later.

         On this reading, Swales would have no application to this matter at all, because notice has

 long since been authorized and discovery is complete. However, the Court explicitly found Swales

 central to its decertification decision – indicating it was reading that decision more broadly.

        On broadest reading, and taken at its word, Swales no longer permits the decertification

 motion the Court granted. “Similarly situated” is decided at case inception (when prior practice

 would “conditionally” certify) and second-step Lusardi decertification is rejected as an undesirable

 multiplication of effort. Swales itself is not clear on its implications for decertification, if such is



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 even allowed any longer, and likewise the Court’s application of that decision leaves room for

 debate.



           C.     Immediate Appeal Will Advance the Ultimate Termination of the Litigation

           There is no doubt that interlocutory appeal would advance the ultimate termination of this

 litigation. If the Fifth Circuit were to hold that Swales no longer permits decertification, or find

 Defendants’ Lusardi motion defective for like reasons, a single collective action would proceed to

 trial.

           Should the Court’s ruling stand, on the other hand, the named plaintiffs’ case will continue

 to trial and the opt-in plaintiffs will be required to re-file multiple actions, decided by multiple

 trials. Such a drastic difference in outcomes will have significant consequences on the potential

 the parties may negotiate resolution without need for (one or multiple) trials.

           And while the Court could certainly proceed with this litigation by named plaintiffs and

 the to-be-filed suits by the remaining plaintiffs, a different conclusion on “decertification” in post-

 trial appeal could require the Court to go back and start over entirely. The same is true if on appeal

 the Court’s decertification order is found insufficiently reasoned.

           In light of the scope and complexity of a single collective-action trial versus multiple trials

 by the named and opt-in plaintiffs, ensuring that certification issues are thoroughly and finally

 resolved would clearly advance the case toward termination.



           D.     Each of Sec. 1292(b)’s Requirements is Satisfied As to “Rigorous Analysis”

           As discussed above, the Court held in denying reconsideration that Swales “overshadows

 the analysis conducted by the Magistrate Judge” (Rec. Doc. 434, p. 2). Rejecting that analysis, the



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 Court referenced relying upon the Magistrate Judge’s Report and Recommendations “as a

 foundation” before conducting its own analysis – presumably pursuant to rules set forth in Swales.

        But the Court’s analysis in the alternative to the Report before it is nowhere enunciated. In

 particular, what rules found in Swales applied to reject the Report’s lengthy, detailed factual and

 legal conclusions were not identified; the facts to which those rules were applied were not set out;

 and the requisite legal conclusions were not reached except in conclusion. While it is within the

 sound discretion of the district court to reject a magistrate judge’s facts and reasons, it is error to

 substitute only conclusions.

        Although Plaintiffs do not believe Swales modified the requirement to enunciate in detail

 the “rigorous analysis” necessary, the Court’s orders indicate it ruled otherwise. Whether Swales

 modified the requisite detail on decertification (or certification, for that matter) is a controlling

 question of law.

        Likewise, there are grounds to disagree. The Court’s order on decertification would suffer

 from exactly the same deficiencies that Defendants found with the Magistrate Judge’s conclusions

 – unless Swales modified that burden. Plaintiffs do not believe that it did, but the Court’s reliance

 on Swales suggests otherwise.

        Finally, review now as to the sufficiency of the decertification order has the potential to

 massively benefit the parties and the court system. If that order at post-trial appeal is found

 insufficient, potentially multiple jury trials (one for the named plaintiffs and multiple for the opt-

 in plaintiffs) will have been a waste of resources. That prospect is a daunting one for Plaintiffs and

 Defendants alike.




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          Interlocutory appeal to establish what changes Swales may have made to the “rigorous

  analysis” standard of review clearly would advance termination, and simplicity going forward, of

  this litigation.



                                           CONCLUSION

          The Court’s decertification order, it is respectfully submitted, satisfies each of the three

  requirements of 28 U.S.C. 1292(b). Given the significant and novel legal issues addressed in that

  order, on which there are substantial grounds for difference of opinion and the resolution of which

  could advance ultimate termination of the litigation, the Court should amend its order to include

  certification for interlocutory appeal under Sec. 1292(b).




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                                            Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

            I hereby certify that a copy of the foregoing Motion has been filed via the Court’s

    CM/ECF system, which will provide notice to all counsel of record, this 12th day of August,

    2021.



                        ___________/s/ Ryan M. Goudelocke____________
                                     Ryan M. Goudelocke




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